Case 2:04-cr-20204-SH|\/| Document 8 Filed 07/05/05 Page 1 of 2 Page|D 4

   
    
 

 
     

UNITED sTATEs DtsTRICT CoURT FILED E‘r' M_. o.o.
WESTERN DIsTRICT oF TENNESSEE
Western Division 05 JUL "5 PH 3= 52
cts=i<ri):> i"i`lw
j,. sincere war
UNITEI) sTATEs oF AMERICA W,,D @f. F _W.l MBM§
-vs- Case No. 2:04cr20204-Ma
JELANI JoHNsoN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
FRIDAY, .]`ULY 8, 2005 at 10:00 A.M. before United States Magistrate Judge Diaoe K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.

Dare; Ju1y5,2005 ’@ ‘ /( §§ HW[,
\,{M.€.¢ -

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

1If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(£} are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8!85) Order of Temporary Deientjon

Thls dochent entered on the docket sheet ln compliance
with Hula 55 and/or 32fbt FHCrP on " 7 °`O

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:04-CR-20204 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

